                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                  Plaintiff,                )
                                            )
      v.                                    )   Criminal Action No.
                                            )   10-00073-03-CR-W-NKL
JAMES L. DICAPO,                            )
                                            )
                  Defendant.                )
                                          ORDER

       Pursuant to the Report and Recommendation of United States Magistrate Judge Robert E.

Larsen, to which no objection has been filed, the plea of guilty to Count One of the Indictment is

accepted. Defendant is adjudged guilty of such offense. Sentencing will be set by subsequent order

of the Court.



                                                    s/ NANETTE K. LAUGHREY
                                                    NANETTE K. LAUGHREY
                                                    United States District Judge

Kansas City, Missouri
August 18, 2010




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